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DISTRICT COURT, GILPIN COUNTY, COLORADO
2960 Dory Hill Road, Suite 200
Blackhawk, Colorado 80422
(303) 582-5522

Plaintiff(s): JOHN CHEVARRIA & KELLEY
CHEVARRIA

v.
                                                              Ÿ COURT USE ONLYŸ
Defendant(s): GAMING AND LEISURE PROPERTIES,
INC; GOLD MERGER SUB, LLC; PINNACLE
ENTERTAINMENT, INC. & AMERISTAR CASINO
BLACK HAWK, LLC

Anthony E. Derwinski (#44408)                                 Case Number: 2020CV30008
Ruegsegger Simons & Stern, LLC
1700 Lincoln Street, Suite 4500
Denver, Colorado 802023                                       Division: G
aderwinski@rs3legal.com
Phone Number: (303) 575-8026
Fax Number: (303) 623-1141
Attorney for Ameristar Casino Black Hawk, LLC

              DEFENDANT’S NOTICE OF FILING NOTICE OF REMOVAL



        PLEASE TAKE NOTICE that on April 22, 2020, Defendant Ameristar Casino

 Black Hawk, LLC, filed a Notice of Removal of the above-captioned case in the United

 States District Court for the District of Colorado. A true and correct copy of the Notice of

 Removal, without attachments, is attached hereto as Exhibit A.

        Under 28 U.S.C. § 1446(d), the filing of the Notice of Removal effects the

 removal of this action and the Court may proceed no further unless and until this case is

 remanded.


        Dated this 22nd day of April, 2020.




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                                         Ruegsegger Simons & Stern, LLC

                                         By:_/s/Anthony E. Derwinski_________
                                         Anthony E. Derwinski, #44408
                                         Attorneys for Ameristar




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                               CERTIFICATE OF SERVICE

I hereby certify that on this 22nd day of April, 2020, a true and correct copy of the
foregoing was filed and served via CCEF.



                                                  /s/Anthony E. Derwinski____________




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